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   8                           UNITED STATES DISTRICT COURT
   9                        SOUTHERN DISTRICT OF CALIFORNIA
  10
  11    UNITED STATES OF AMERICA,                               CASE NO. 06cr1243 DMS
  12                                        Plaintiff,          ORDER RE: STATEMENT OF
               vs.                                              THE CASE
  13
        RICARDO MARTINEZ,
  14
                                          Defendant.
  15
  16          Attached to this Order is the Court’s proposed statement of the case. Counsel should be

  17   prepared to present their comments concerning this document during the hearing on Friday, October

  18   12, 2007.

  19          IT IS SO ORDERED.

  20   DATED: October 10, 2007

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  22                                                 HON. DANA M. SABRAW
                                                     United States District Judge
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